    Case: 4:19-cv-01638-SNLJ Doc. #: 24 Filed: 11/18/19 Page: 1 of 5 PageID #: 372



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

ROBERT FERNANDEZ,                               )
                                                )
                Plaintiff,                      )
                                                )       Case No. 4:19-CV-01638-SNLJ
         v.                                     )
                                                )
ST. LOUIS COUNTY, MISSOURI,                     )
                                                )
                Defendant.                      )


        DEFENDANT’S MEMORANDUM IN OPPOSITION TO PLAINTIFF’S
      “RENEWED MOTION FOR ENTRY OF A PRELIMINARY INJUNCTION”

       COMES NOW Defendant St. Louis County, Missouri, by and through undersigned

counsel, and hereby files its Memorandum in Opposition to Plaintiff’s Renewed Motion

For Entry Of Preliminary Injunction, as follows:

                                   I. INTRODUCTION

      Plaintiff’s initial request for preliminary injunction (Doc #3) was granted as to the

Vagrancy ordinance of St. Louis County, Missouri (Count III of Plaintiff’s Complaint) on

October 10, 2019 (Doc#22), and a Case Management Order, assigning the case to Track

1 (Expedited)1, was entered on the same day (Doc #21). The renewed request, which has

been definitively ruled on by this Court, specifies two of the 36 ordinances specific to

solicitation (namely, Sections 804.050 and 1209.090.1)2, and is based solely on a recent



1
 The trial is set approximately 4.5 months from today, on April 6, 2020. (Doc #21).
2
 Chapter 804 of the St. Louis County Revised Ordinances, entitled “Peddlers and Solicitors Code”
contains 27 ordinances (i.e. Sections 804.010-804.260), and Chapter 1209.090, entitled “Regulations for
Pedestrians,” contains 9 ordinances, Sections 1209.010-1209.090.
 Case: 4:19-cv-01638-SNLJ Doc. #: 24 Filed: 11/18/19 Page: 2 of 5 PageID #: 373



decision by the Eighth Circuit, which is inapposite to the case at bar, for the following

legal reasons.

                                  II.   LAW

   The terms of the Arkansas anti-loitering law in Rodgers v. Bryant, 301 F. Supp.3d

928 (E.D. Ark. 2017), is markedly different from the County ordinances under

consideration in the case at bar. In fact, there is no legally meaningful resemblance

between the Arkansas statute and the subject County Ordinances:

         Ark. Code Ann. §5-71-213. (a) A person commits the offense of
         loitering if he or she:

                   (3) Lingers or remains on a sidewalk, roadway or public
                      right-of-way, in a public parking lot or public transportation
                      vehicle or facility, or on private property, for the purpose of
                      asking for anything as a charity or gift:
                      (A) In a harassing or threatening manner;
                      (B)   In a way likely to cause alarm to the other person; or
                      (C)   Under circumstances that create a traffic hazard or
                             impediment[.]

        St. Louis County Revised Ordinances §804.050. Solicitor’s License
        Required.
         It shall be unlawful for any solicitor to engage in such business in St. Louis
         County, without first having obtained a license therefor from the Division.


        St. Louis County Revised Ordinances §1209.090.1. Pedestrians Soliciting
        Rides Or Business.
        No person shall stand in a roadway for the purpose of soliciting a ride,
        employment, charitable contribution or business from the occupant of any
        vehicle.

                                              2
 Case: 4:19-cv-01638-SNLJ Doc. #: 24 Filed: 11/18/19 Page: 3 of 5 PageID #: 374




   Importantly, the Arkansas law, clearly distinguishable from the ordinances, is content-

based, rather than content-neutral on its face. “The governing test is straightforward: if

the statute describes speech by content, then it is content based. On the other hand, if the

regulation bans all speech, regardless of content, then it is content neutral.” Id. at 934.

The restrictions applied by the subject solicitation ordinances are completely independent

of the communicative content expressed by the broad range of solicitors effected. “A

regulation that serves purposes unrelated to the content of expression is deemed neutral,

even if it has an incidental effect on some speakers or messages but not others.”

Josephine Havlak Photographer, Inc. v. Vill. Of Twin Oaks, 864 F.3d 905, 914 (8th Cir.

2017)(quoting Ward v. Rock Against Racism, 491 U.S. 781, 791). Similarly, in

Traditionalist American Knights of the Klu Klux Klan v. City of Desloge, Missouri, 2016

WL 705128 (E.D.Mo. 2016).

    Plaintiff requests that the district court prevent the entire St. Louis County

Police force from enforcing the law against anyone, anywhere, at any time based on the

alleged harm faced by one individual. Reprod. Health Servs. of Planned Parenthood of

the St. Louis Region, Inc. v. Nixon, 428 F.3d 1139, 1145 (8th Cir. 2005) (vacating a

preliminary injunction that “went beyond what was needed to protect [the plaintiffs] from

the ... threat of irreparable injury shown”). A preliminary injunction of any scope is “an

extraordinary remedy,” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008), and

before granting one, a district court is required to consider and weigh several factors: “(1)

the threat of irreparable harm to the movant; (2) the state of the balance between this

                                               3
    Case: 4:19-cv-01638-SNLJ Doc. #: 24 Filed: 11/18/19 Page: 4 of 5 PageID #: 375



harm and the injury that granting the injunction will inflict on other parties litigant; (3)

the probability that [the] movant will succeed on the merits; and (4) the public

interest.” See Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981) (en

banc).3

      An order preventing the County from enforcing its law against thousands of potential

violators is a significant encroachment on its police powers and should not be

granted. See, New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U.S. 1345, 1351,

98 S.Ct. 359, 54 L.Ed.2d 439 (Rehnquist, Circuit Justice 1977) (staying a statewide

injunction and noting that “any time a State is enjoined by a court from effectuating

statutes enacted by representatives of its people, it suffers a form of irreparable

injury”); cf. Planned Parenthood Minn., N.D., S.D. v. Rounds, 530 F.3d 724, 733 (8th

Cir. 2008) (en banc) (recognizing the need for “an appropriately deferential analysis”

before “thwart[ing] a state’s presumptively reasonable democratic processes”).



                                   III.     CONCLUSION

       For all of the reasons explained above, Defendant respectfully requests that this

Court deny Plaintiff’s “renewed” motion for preliminary injunction, and for whatever

further relief this court deems just and proper.




3
  As the dissent in Rodgers v. Bryant, No. 17-3219, 2019 WL 5778342 (8th Cir. November 6, 2019),
aptly stated: “a universal preliminary injunction potentially injures Arkansas, its citizens, and the overall
public interest.”


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 Case: 4:19-cv-01638-SNLJ Doc. #: 24 Filed: 11/18/19 Page: 5 of 5 PageID #: 376




                                           Respectfully Submitted,

                                           BETH ORWICK
                                           COUNTY COUNSELOR

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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 18, 2019, a true and accurate copy of the foregoing
was filed and served via the Court’s electronic filing system and by regular U.S. Mail, Postage
Prepaid, upon all of the following counsel of record: Hugh A Eastwood Attorney for Plaintiff,
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                                                          /s/Linda S. Levin
                                                          Linda S. Levin




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